                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 24-3585

                                      Rhonda Burnett, et al.

                                                     Appellees

                                                v.

                National Association of Realtors and Home Services of America

                                                     Appellees

                    Keller Williams Realty, Inc. and Realogy Holdings Corp.

                         BHH Affiliates, LLC and HSF Affiliates, LLC

                                                     Appellees

                                         RE/MAX LLC

                                                v.

                             Brown Harris Stevens and The Agency

                                                     Appellees

                                                v.

                                        Tanya Monestier

                                                     Appellant


______________________________________________________________________________

      Appeal from U.S. District Court for the Western District of Missouri - Kansas City
                                   (4:19-cv-00332-SRB)
______________________________________________________________________________

                                             ORDER

        Appellant's motion for reconsideration of the April 30, 2025 judge order is denied as

moot.

                                                      May 21, 2025




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Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Susan E. Bindler




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